
dismis.re                                                           



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-06-297-CV



MARK IRWIN
 STEVENS &nbsp;&nbsp;	APPELLANT



V.



LYNN
 STEVENS
		APPELLEE



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FROM THE 233
RD
 DISTRICT COURT OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered appellant’s “Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See 
T
EX.
 R. A
PP.
 P. 42.1(a)(1), 43.2(f). 

Costs of the appeal shall be paid by the appellant, for which let execution issue.

PER CURIAM	



PANEL D: &nbsp;HOLMAN, GARDNER, and WALKER, JJ.



DELIVERED: &nbsp;October 26, 2006

FOOTNOTES
1:See 
Tex. R. App. P. 47.4.




